       Case 1:11-cv-08403-LTS-DCF Document 66 Filed 10/12/15 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KUWAIT INVESTMENT AUTHORITY,

                      Plaintiffs,
v.

AMERICAN INTERNATIONAL GROUP, INC.,
MARTIN J. SULLIVAN, STEVEN J. BENSINGER,
JOSEPH CASSANO, ANDREW FORSTER, ALAN
FROST, DAVID HERZOG and ROBERT LEWIS,                         No. 11-CV-8403 (LTS) (DCF)

                      Defendants.




                  PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

               Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Kuwait Investment

Authority, by and through their undersigned counsel, hereby voluntarily dismiss all claims

against all defendants in the above-captioned action with prejudice.
      Case 1:11-cv-08403-LTS-DCF Document 66 Filed 10/12/15 Page 2 of 2



Dated: October 12, 2015                  Respectfully submitted:



                                   BOIES, SCHILLER & FLEXNER LLP


                                   By:     /s/ Damien J. Marshall
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